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 UNITED STATES DISTRICT COURT                      represent a party in district court shall
 SOUTHERN DISTRICT OF GEORGIA                      continue such representation until either
     STATESBORO DIVISION                           successor counsel is appointed under the Act
                                                   or counsel is relieved by order of the court of
UNITED STATES OF AMERICA
                                                   appeals.").
                       6: 12-cr-OO1-06                 If Littles or his counsel seeks a change in
                                                   counsel, they must seek such relief from the
EDDIE LITTLES,
                                                   Eleventh Circuit Court of Appeals.
Defendant.                                         Accordingly, Littles's request, ECF No. 383,
                                                   is DENIED.
                   ORDER
    Eddie Littles filed a letter requesting "the
Court to address the issue of Proper Counsel       This -day of April, 2013.
for the Appeal Process." ECF No. 383.
Because the United States Court of Appeals
for the Eleventh Circuit has already appointed
Littles's trial counsel to continue to represent
him on appeal, ECF No. 389, Littles's
request, ECF No. 383, must be DENIED.
                                                   SOUTHERN DISTRICT OF GEORGIA
    The Eleventh Circuit Court of Appeals
Plan under the Criminal Justice Act requires
Defendant's previously appointed counsel to
continue representing Defendant during his
appeal unless counsel has been relieved by
order of the Eleventh Circuit. 11th Cir. R.
add. 4(d)(2) ("If a party was represented in
the district court by counsel appointed under
the Act, such counsel shall be mindful of the
obligation and responsibility to continue
representation on appeal until either successor
counsel is appointed under the Act or counsel
is relieved by order of this court [i.e. the
Eleventh Circuit]."), Id. (d)(6) ("In all cases
appealed by counsel appointed by the district
court under the Act, if such counsel has not
previously been relieved by this court, the
clerk shall continue trial counsel's
appointment for purposes of further
representation on appeal."), Id. (e)(1)
("[C]ounsel appointed under the Act to
